272 F.2d 184
    NATIONAL LABOR RELATIONS BOARD, Petitioner,v.Frank MACKNEISH, Industrial Fabricating, Inc., Industrial &amp; Foundry Sales, Inc., Unified Industries, Inc., Pressed Steel Flasks, Inc., and Paragon Industries, Inc., Respondents.
    No. 13796.
    United States Court of Appeals Sixth Circuit.
    November 9, 1959.
    
      Thomas J. McDermott, Washington, D. C., argued by William Avrutis, Washington, D. C., for petitioner.
      David Colman, Detroit, Mich., Joseph V. Wilcox, Albion, Mich., argued by David Colman, Detroit, Mich., for respondent.
      Before McALLISTER, Chief Judge, and SIMONS and CECIL, Circuit Judges.
      PER CURIAM.
    
    
      1
      The National Labor Relations Board found that respondents, in this case, by lockout, permanent shutdown, transfer of operations, and refusal to negotiate with the Union involved, concerning grievances, had violated Section 8(a) (5) (3) and (1) of the National Labor Relations Act as amended, 29 U.S.C.A. § 158 (a) (1, 3, 5); and that respondents Mackneish and Industrial Fabricating, Inc., had, by discrimination, failed to recall three employees, and had discharged two other employees in violation of Section 8(a) (3) and (1) of the Act.
    
    
      2
      The testimony, introduced on behalf of the opposing parties, was in conflict. The issue is essentially one of fact; and determination of the facts, and the inferences to be drawn therefrom are for the Board. A review of the copious record discloses that the Board's findings were supported by substantial evidence on the record, considered as a whole.
    
    
      3
      The petition of the Board for enforcement of its order is, accordingly, granted, and a decree enforcing the order will, therefore, be granted.
    
    